Motion to affirm on certificate. The appeal bond was filed more than twenty days after adjournment of the term of court at which the judgment was rendered. The court not being one whose term "may by law continue more than eight weeks," the appeal was not perfected, and the jurisdiction of this court has never attached. R.S. art. 2253 as amended; Webster  Son v. Lucas, 117 Tex. 64, 296 S.W. 1089. The wording of this article gave rise to some confusion as to nonresidents of the county where the judgment was rendered, although the uniform holdings of the Courts of Civil Appeals applied the twenty-day provision to both residents and nonresidents. The above case confirmed the holdings of the Courts of Civil Appeals. Whatever ambiguity existed in the language of article 2253 was removed by the amendment of 1927 (40th Leg. p. 21, c.15, § 1 [Vernon's Ann.Civ.St. art. 2253]), which conformed the wording to the above holding.
The motion is dismissed
Dismissed.